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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ARIZONA

 Hualapai Indian Tribe of the Hualapai Indian    Case No. 3:24-cv-08154-DJH
 Reservation, Arizona,
                                                 UNOPPOSED MOTION FOR
          Plaintiff,                             STAY OF DEFENDANTS’
                                                 DEADLINES TO RESPOND TO
 vs.                                             THE AMENDED COMPLAINT

 Doug Burgum, United States Secretary of the
 Interior, et al.,

          Federal Defendants

 and

 Arizona Lithium, Ltd.,

          Intervenor Defendant.
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         Federal Defendants1 respectfully move for a stay of the March 10, 2025 deadline
for Federal Defendants to respond to Hualapai’s amended complaint to permit the parties
to discuss appropriate next steps in this case. AZ Lithium has voluntarily withdrawn its
Plan of Operations, the BLM approval of which the complaint seeks to set aside. On the
basis, AZ Lithium plans to move to withdraw as an intervenor in this matter on the
grounds that it no longer has a protectable interest in the litigation. Federal Defendants
believe AZ Lithium’s withdraw of the Plan of Operations also has broader impacts for the
case, and intend to confer with Plaintiffs in the coming days regarding appropriate next
steps.
         Federal Defendants have conferred with Hualapai and Arizona Lithium. All
parties agree that there is no need for Federal Defendants to respond to the Amended
Complaint at this time.
         Federal Defendants thus request that: 1) the deadline for Federal Defendants to
respond to the Amended Complaint be stayed; and 2) the Parties be ordered to file a
status report with the Court regarding appropriate next steps in this case on or before May
9, 2025. Plaintiff Hualapai and Defendant-Intervenor Arizona Lithium do not oppose this
motion.
         Respectfully submitted this 28th day of February, 2025.


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                                                    /s/ Matthew Marinelli
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1
 Pursuant to Federal Rule of Civil Procedure 25(d), Douglas Burgum, Secretary of the United States Department of
Interior, is automatically substituted for Walter Cruickshank.
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